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1    NICOLA T. HANNA
     United States Attorney
2    BRANDON D. FOX
     Assistant United States Attorney
3    Chief, Criminal Division
     ROGER A. HSIEH (Cal. Bar No. 294195)
4    Assistant United States Attorney
     Major Frauds Section
5         1100 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-0600
7         Facsimile: (213) 894-0141
          E-mail:    Roger.Hsieh@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA
10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 17-00638-PSG

13             Plaintiff,                    STIPULATION TO CONTINUE SENTENCING
                                             DATE
14                   v.
                                             CURRENT SENTENCING DATE:
15   ALEXANDER TORO HERNANDEZ,               November 4, 2019 at 10:00 a.m.

16             Defendant.                    [PROPOSED] SENTENCING DATE:
                                             January 13, 2020 at 10:00 a.m.
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21        Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorney Roger A. Hsieh, and
24   defendant ALEXANDER TORO HERNANDEZ (“defendant”), by and through his
25   counsel of record, Victor Sherman, hereby stipulate as follows:
26        1.    The Indictment in this case was filed on October 6, 2017,
27   charging defendant with distribution of heroin in violation of 21
28   U.S.C. §§ 841(a)(1), (b)(1)(B)(i) (Count One) and possession with
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1    intent to distribute heroin in violation of 21 U.S.C. §§ 841(a)(1),

2    (b)(1)(A)(i) (Counts Two and Three).

3          2.   Defendant was detained pending trial.

4          3.   On November 7, 2018, defendant pleaded guilty to Count

5    Three of the Indictment, and the Court set a sentencing date of April

6    1, 2019, at 10:00 a.m.

7          4.   On March 13, 2019, the Court continued the sentencing date

8    to April 29, 2019, at 10:00 a.m.

9          5.   On April 16, 2019, the Court continued the sentencing date
10   to July 29, 2019, at 10:00 a.m.

11         6.   On July 3, 2019, the Court continued the sentencing date to

12   November 4, 2019, at 10:00 a.m.

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1         7.    By this stipulation, the parties move to continue the

2    sentencing date to January 13, 2020, at 10:00 a.m., so that the

3    parties can prepare their sentencing memoranda and determine the

4    applicability of any potential departures or variances.

5         IT IS SO STIPULATED.

6    Dated: October 29, 2019              Respectfully submitted,

7                                         NICOLA T. HANNA
                                          United States Attorney
8
                                          BRANDON D. FOX
9                                         Assistant United States Attorney
                                          Chief, Criminal Division
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11                                              /s/
                                          ROGER A. HSIEH
12                                        Assistant United States Attorney

13                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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15   Dated: October 29, 2019
                                              /s/ authorization via email
16                                        VICTOR SHERMAN

17                                        Attorney for Defendant
                                          ALEXANDER TORO HERNANDEZ
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